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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  AMERICA FIRST LEGAL FOUNDATION,
  600 14th Street, NW
  Fifth Floor
  Washington, DC 20005

                          Plaintiff,                           Civil Action No.: 21-2253

                  v.

  U.S. DEPARTMENT OF STATE,
  2201 C Street, NW
  Washington, DC 20520

                          Defendant.


                                          COMPLAINT

       1.       Plaintiff America First Legal Foundation (“AFL”) brings this action against

Defendant U.S. Department of State (“State”) to compel compliance with the Freedom of

Information Act (“FOIA”), 5 U.S.C. § 552.

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331. Additionally, it may grant declaratory relief pursuant to 28 U.S.C. § 2201, et

seq.

       3.       Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

                                            PARTIES

       4.       AFL is a nonprofit organization working to promote the rule of law in the United

States, prevent executive overreach, ensure due process and equal protection for all Americans,
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and encourage public knowledge and understanding of the law and individual rights guaranteed

under the United States Constitution and the laws of the United States. AFL’s mission includes

promoting government transparency and accountability by gathering official information,

analyzing it, and disseminating it through reports, press releases, and/or other media, including

social media platforms, all to educate the public. All of the records produced by State will be made

publicly available on AFL’s website for citizens, journalists, and scholars to review and use. AFL’s

principal office is located in the District of Columbia.

         5.       State is an agency of the federal government within the meaning of 5 U.S.C.

§ 552(f) and has possession and control of the records AFL seeks.

                                         BACKGROUND

         6.       The COVID-19 pandemic has devastated millions of Americans. According to the

Centers for Disease Control, well over six hundred thousand American citizens have died from the

virus.

         7.       The economic, mental health, and social impact of stay-at-home orders, mask

mandates, remote learning for millions of children, indefinite telework, layoffs, trillions in

taxpayer funded bailouts and stimulus, and the defenestration of the small business sector will be

felt for decades.

         8.       As early as November 2019, U.S. intelligence services strongly suspected the

COVID-19 virus originated in the Wuhan Institute of Virology in Wuhan, China. See Michael R.

Gordon, et al., Intelligence on Sick Staff at Wuhan Lab Fuels Debate on Covid-19 Origin, WALL

STREET JOURNAL (May 23, 2021) https://www.wsj.com/articles/intelligence-on-sick-staff-at-

wuhan-lab-fuels-debate-on-covid-19-origin-11621796228; Lee Smith, The Thirty Tyrants,

TABLET MAGAZINE (Feb. 3, 2021) https://www.tabletmag.com/sections/news/articles/the-thirty-




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tyrants. The Wuhan Institute of Virology was, at all times relevant, closely connected to the

Chinese Communist Party (“CCP”) and the CCP’s People’s Liberation Army (“PLA”).

       9.       In or about April 2020, shortly after the scope and scale of the pandemic became

clear, the U.S. Department of Health and Human Services and the U.S. Department of Education

consulted on separate investigations into U.S. taxpayer funding (directly authorized, upon

information and belief, by the National Institutes of Health’s director Dr. Anthony Fauci) and

support from U.S.-based institutions of higher education, respectively, for the Wuhan Institute of

Virology and the potentially dangerous activities carried on there. See, e.g., Jerry Dunleavy,

Republicans argue Fauci emails show NIH funded gain-of-function research at Wuhan Lab,

WASHINGTON EXAMINER (July 30, 2021) https://www.msn.com/en-us/news/politics/republicans-

argue-fauci-emails-show-nih-funded-gain-of-function-research-at-wuhan-lab/ar-AAMKIko; Ltr.

from Reed D. Rubinstein, Principal Deputy Gen. Counsel, Off. of Gen. Counsel, U.S. Dep’t of

Educ., to James B. Milliken, Chancellor, Univ. of Tex. Sys. at 2 (Apr. 24, 2020)

https://www2.ed.gov/policy/highered/leg/ut-apr24-2020.pdf. This funding and support had been

provided in reckless disregard for the Wuhan Institute of Virology’s known connections to the

CCP and the PLA.

       10.      According to a recent Congressional report, “the preponderance of evidence”

suggests COVID-19 was released from the Wuhan Institute of Virology sometime prior to

September 12, 2019. Then, “[r]esearchers at the [Wuhan Institute of Virology], officials within

the [CCP], and potentially American citizens directly engaged in efforts to obfuscate information

related to the origins of the virus and to suppress public debate of a possible lab leak.” Minority

Staff of H. Foreign Affairs Comm., 117th Cong., Rep. on The Origins of COVID-19: An

investigation of the Wuhan Institute of Virology at 4 (Aug. 2021) https://gop-




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foreignaffairs.house.gov/wp-content/uploads/2021/08/ORIGINS-OF-COVID-19-REPORT.pdf

(the “House Report”).

       11.    According to the House Report:

              [T]he [CCP] and the World Health Organization (WHO) went to great
              lengths to cover up the initial epidemic, and how their cover-up likely turned
              what could have been a local outbreak into a global pandemic. The CCP
              detained doctors in order to silence them, and disappeared journalists who
              attempted to expose the truth. They destroyed lab samples, and hid the fact
              there was clear evidence of human-to-human transmission. And they still
              refuse to allow a real investigation into the origins. At the same time, the
              WHO, under Director General Tedros, failed to warn the world of the
              impending pandemic. Instead, he parroted CCP talking points, acting as a
              puppet of General Secretary Xi.

              In this addendum, we have uncovered further evidence of how top scientists
              at the [Wuhan Institute of Virology] and Dr. Peter Daszak, an American
              scientist, furthered that cover-up. Their actions include bullying other
              scientists who questioned whether the virus could have leaked from a lab;
              misleading the world about how a virus can be modified without leaving a
              trace; and, in many, instances directly lying about the nature of the research
              they were conducting, as well as the low-level safety protocols they were
              using for that research. These actions not only delayed an initial
              investigation into the possibility of a lab leak costing valuable time, but
              provide further proof the virus likely leaked from the [Wuhan Institute of
              Virology].

House Report at 6.

       12.    The Trump Administration tasked a group at State to investigate the origins of the

pandemic. Upon information and belief, the tasking included determining whether the research

leading to the creation of COVID-19 was indeed part of or connected to CCP/PLA bioweapon

programs.

       13.    Leaders of the Democratic Party, including members of the Biden Administration

and Congress, routinely ridiculed former President Trump for suggesting that the virus may have

originated in the Wuhan Institute of Virology and may have been used to benefit the CCP. See

Zachary Cohen, et al., Trump contradicts US intel community by claiming he’s seen evidence



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coronavirus        originated      in      Chinese       lab,     CNN         (May       1,       2020)

https://www.cnn.com/2020/04/30/politics/trump-intelligence-community-china-coronavirus-

origins/index.html; Ethan Siegel, No, Science Clearly Shows That COVID-19 Wasn’t Leaked From

A Wuhan Lab, FORBES (May 20, 2021) https://www.forbes.com/sites/startswithabang

/2021/05/20/no-science-clearly-shows-that-covid-19-wasnt-leaked-from-a-wuhan-

lab/?sh=4cad20de5585.

       14.       But on May 26, 2021, President Biden issued the following statement:

                 [S]hortly after I became President, in March, I had my National Security
                 Advisor task the Intelligence Community to prepare a report on their most
                 up-to-date analysis of the origins of COVID-19, including whether it
                 emerged from human contact with an infected animal or from a
                 laboratory… I have now asked the Intelligence Community to redouble
                 their efforts to collect and analyze information that could bring us closer to
                 a definitive conclusion, and to report back to me in 90 days. As part of that
                 report, I have asked for areas of further inquiry that may be required,
                 including specific questions for China. I have also asked that this effort
                 include work by our National Labs and other agencies of our government
                 to augment the Intelligence Community’s efforts. And I have asked the
                 Intelligence Community to keep Congress fully apprised of its work.

Pres. Joseph R. Biden, Jr., Stmt. on the Investigation into the Origins of COVID-⁠19 (May 26,

2021) https://www.whitehouse.gov/briefing-room/statements-releases/2021/05/26/statement-by-

president-joe-biden-on-the-investigation-into-the-origins-of-covid-19/.

       15.       At the same time, the Biden Administration also apparently ordered State to stop

its independent investigation into COVID-19’s origin. See Brooke Singman & Jennifer Griffin,

Biden State Department quietly ended team’s work probing COVID origin, FOX NEWS (May 26,

2021) https://www.foxnews.com/politics/biden-state-department-shut-down-team-covid-origin-

investigation.

       16.       Although the Biden Administration has never explained why the State investigation

was shut down, multiple Congressional and media reports document the close commercial and



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other relationships between key high-ranking Biden Administration officials and the CCP. See

Majority Staff of S. Comm. on Homeland Sec. and Governmental Aff. & S. Comm. on Fin., 116th

Cong., Rep. on Hunter Biden, Burisma, and Corruption: The Impact on U.S. Government Policy

and      Related        Concerns     (2020)    https://www.hsgac.senate.gov/imo/media/doc/HSGAC_

Finance_Report_FINAL.pdf; Majority Staff of S. Comm. on Fin. & S. Comm. on Homeland Sec.

and Governmental Aff., Rep. Supp. on Hunter Biden, Burisma, and Corruption: The Impact on

U.S.      Government            Policy      and     Related      Concerns     (Nov.          18,    2020)

https://www.finance.senate.gov/imo/media/doc/2020-11-18%20HSGAC%20-%20Finance%20

Joint%20Report%20Supplemental.pdf; Jonathan Guyer & Ryan Grim, Meet The Consulting Firm

That’s     Staffing       The      Biden    Administration,     THE    INTERCEPT     (July     6,   2020)

https://theintercept.com/2021/07/06/westexec-biden-administration/;          The     Republican     Study

Comm.,          Biden      on       China—Bad       Policies,    Bad     Personnel      (Mar.       2021)

https://banks.house.gov/uploadedfiles/rsc_china_memo.docx.pdf; Yuichiro Kakutani, Biden-

Linked Firm WestExec Scrubs China Work From Website, WASHINGTON FREE BEACON (Dec. 2,

2020)          https://freebeacon.com/elections/biden-linked-firm-westexec-scrubs-china-work-from-

website/. Upon information and belief, at least some of these officials have been overseeing or

involved in assessing intelligence information regarding the origins of COVID-19 and the CCP’s

responsibility for the pandemic.

                                           AFL’S FOIA REQUEST

         17.       To better understand how and why the Biden Administration has prevented State

officials from investigating COVID-19’s origins, AFL submitted a FOIA request to State on May

28, 2021. See Exhibit A.

         18.       In its May 28, 2021, request, AFL sought:




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    A.    All records, including but not limited to electronic mail, texts,
          memoranda, and handwritten notes, of, regarding, referring, or
          relating to the State Department’s decision to cease, end, or
          terminate any investigation into the origins of the COVID-19
          pandemic.

          The timeframe for this request is January 20, 2021, to the date the
          requested records are processed.

    B.    All records, including but not limited to electronic mail, texts,
          memoranda, and handwritten notes, of, regarding, referring, or
          relating to the origins of the COVID-19 virus and the COVID-19
          pandemic, from, to, or in the possession of any of the following
          custodians:

                 1. Antony Blinken
                 2. Wendy Sherman
                 3. Brian McKeon
                 4. C.S. Eliot Kang
                 5. Derek H. Chollet
                 6. Timothy Betts
                 7. Robert Faucher
                 8. Lisa Peterson
                 9. Richard Albright
                 10. John Godfrey
                 11. Jonathan Moore
                 12. Carol Perez
                 13.Todd Brown (Acting Assistant Secretary for Diplomatic
                 Security)
                 14. Victoria Nuland
                 15. Robert Godec
                 16. Sung Kim (Acting Assistant Secretary for East Asian and
                 Pacific Affairs)
                 17. Donald Lu
                 18. Julie Chung
                 19. Jennifer Hall Godfrey
                 20. Kin Moy
                 21. Angeli Achrekar
                 22. Diana Shaw
                 23. Richard Visek
                 24. Asel Roberts
                 25. Robert Forden
                 26. Any person employed by or affiliated with the Office of
                 the Secretary


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                               27. The Department of State White House Liaison

                       The timeframe for this request is January 20, 2021, to the date the
                       requested records are processed.

                C.     All email communications between any “who.eop.gov” email
                       address and any State Department employee regarding, referring, or
                       relating to ending, terminating, or otherwise cutting off the State
                       Department’s investigations into the origins of the COVID-19 virus
                       and the COVID-19 pandemic.

                       The timeframe for this request is January 20, 2021, the date the
                       requested records are processed.

       19.      AFL submitted its FOIA request to State by e-mail, sending it to

FOIARequest@state.gov. See id.

       20.      On May 28, 2021, AFL received an e-mail from State acknowledging receipt of the

FOIA request and assigning it reference number F-2021-06884. See Exhibit B.

       21.      In this e-mail, State represented that it would not be able to respond to the request

within the 20 days required by statute. See id. State also informed AFL that it would make a

determination regarding AFL’s fee waiver request at a later date. See id.

       22.      Having received no further response from State, AFL sent an e-mail to State on

July 20, 2021, requesting a status update about the May 28, 2021, request. See Exhibit C.

       23.      On July 21, 2021, AFL received an e-mail from State, stating that it would “follow-

up with you as soon as possible to provide a response.” Id.

       24.      After receiving no further response from State, AFL sent e-mails to State on August

2, 2021, and August 3, 2021, requesting a status update. See Exhibits D & E.

       25.      On August 4, 2021, AFL received an e-mail from State, stating that the request was

“in process.” Exhibit F.

       26.      To date, AFL has received no further response from State about its May 28, 2021

FOIA request.


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       27.      As Justice Thurgood Marshal wrote, “[t]he basic purpose of FOIA is to ensure an

informed citizenry, vital to the functioning of a democratic society, needed to check against

corruption and to hold the governors accountable to the governed.” NLRB v. Robbins Tire &

Rubber Co., 437 U.S. 214, 242 (1978).

       28.      By failing to respond to AFL’s request, State is depriving AFL and the public of

vital information needed to determine whether the Government is willfully refusing to investigate

the origins of COVID-19, thereby putting all Americans at risk of future pandemics.

                                           COUNT I
                               Violation of FOIA, 5 U.S.C. § 552

       29.      AFL repeats paragraphs 1-28.

       30.      State is an agency of the federal government within the meaning of 5 U.S.C.

§ 552(f).

       31.      By letter dated May 28, 2021, AFL submitted a FOIA request to State.

       32.      AFL’s FOIA request complied with all applicable statutes and regulations.

       33.      The requested records are not exempt from FOIA pursuant to 5 U.S.C. § 552(b).

       34.      State has failed to respond to AFL’s request within the statutory time-period. See

5 U.S.C. § 552(a)(6).

       35.      Accordingly, AFL has exhausted its administrative remedies. See 5 U.S.C.

§ 552(a)(6)(C).

       36.      By failing to release any responsive, non-exempt records, or otherwise offer a

reasonable schedule for production, State has violated FOIA. See 5 U.S.C. § 552(a)(3)(A).




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                                   PRAYER FOR RELIEF

      WHEREFORE, AFL respectfully requests that this Court:

      i.       Declare that the records sought by the request, as described in the foregoing

paragraphs, must be disclosed pursuant to 5 U.S.C. § 552.

      ii.      Order State to conduct searches immediately for all records responsive to AFL’s

FOIA request and demonstrate that they employed search methods reasonably likely to lead to

the discovery of responsive records.

      iii.     Order State to produce by a date certain all non-exempt records responsive to AFL’s

FOIA request.

      iv.      Award AFL attorneys’ fees and costs incurred in this action pursuant to 5 U.S.C.

§ 552(a)(4)(E).

      v.       Grant AFL such other and further relief as this Court deems proper.

August 25, 2021                                     Respectfully submitted,

                                                    /s/ Brian J. Field
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